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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    TERRE HAUTE DIVISION

  JASPER L. FRAZIER,                                    )
                                                        )
                                Plaintiff,              )
                                                        )
                           v.                           )       No. 2:19-cv-00321-JPH-MJD
                                                        )
  DR. RAJOLI, et al.                                    )
                                                        )
                                Defendants.             )


  Order Denying Motion to Reconsider Order Denying Motion for Appointment of Counsel

         On August 20, 2020, the Court considered plaintiff Jasper Frazier's request that the Court

  recruit counsel to represent him. Dkt. 167. The Court denied his motion, explaining that Mr. Frazier

  is competent to litigate this action on his own because he does not have trouble reading and writing

  English, his filings indicate that he understands his claims and the facts on which they are based,

  and that he had not identified any specific difficulties pursuing his claims. Id. Mr. Frazier seeks

  reconsideration of that Order stating that he believes that defendants' counsel is taking advantage

  of his pro se status by failing to respond properly to his discovery requests. The Court notes that

  Mr. Frazier has filed a motion to compel, which has been granted in part. Dkt. 207. Mr. Frazier

  has been given leave to renew his motion if he contends that there is still discovery that he has not

  received. Id. Accordingly, Mr. Frazier still has not shown that he cannot pursue his claims at this

  time. His motion to inform in which he seeks reconsideration of his motion to appoint counsel,

  dkt. [168], is therefore denied.

  SO ORDERED.
  Date: 11/6/2020




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  Distribution:

  JASPER L. FRAZIER
  114346
  PENDLETON - CF
  PENDLETON CORRECTIONAL FACILITY
  Electronic Service Participant – Court Only

  All Electronically Registered Counsel




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